                             UNITED STATES DISTRICT COURT
                                DISTRICT OF MARYLAND
                                   –Greenbelt Division–

KILMAR ARMANDO ABREGO GARCIA,
ET AL.,

                        Plaintiffs,
                                                        Case No.: 8:25-CV-00951-PX
v.

KRISTI NOEM, ET AL.,

                        Defendants.


                    NOTICE OF FILING OF DOCUMENT UNDER SEAL

         Attachment A which is attached to Plaintiffs’ Notice of Filing Supplemental Exhibit to

Plaintiffs’ Privilege Brief will be electronically filed under seal within 24 hours of the filing of

this Notice.

         I certify that at the same time I am filing this Notice, I will serve copies of the document

identified above by email.



May 15, 2025                                           /s/ Jonathan G. Cooper
Date                                                  Jonathan G. Cooper (D. Md. Bar No. 21345)
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     Counsel for Kilmar Armando Abrego Garcia, Jennifer Stefania Vasquez Sura, and A. A.V., a
              minor, by and through his next friend and mother, Jennifer Vasquez Sura.




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